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                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

   NISUS CORPORATION, a Tennessee               Civil No. 3:03-CV-120
   Corporation,                                 Varlan/Shirley

                  Plaintiff,                  DEFENDANT PERMA-CHINK'S
                                              MOTION FOR SANCTIONS FOR
         v.                                   NISUS’ LATE PRODUCTION OF 1989
                                              DOCUMENTS
   PERMA-CHINK SYSTEMS, INC., a
   Washington Corporation,

                  Defendant.




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                                          I.         NATURE OF MOTION

            Perma-Chink Systems, Inc. (“Perma-Chink”) respectfully moves this Court for sanctions

   under Fed. R. Civ. P. 37(c) associated with Nisus Corp.’s (“Nisus”) belated production of highly

   relevant documents bearing Bates Nos. NII-0001110-1394.                              The documents, which are

   responsive to prior discovery requests from both the Nisus I and Nisus II suits, are dated

   beginning in January 1989. Nisus, however, did not produce the documents until August 2,

   2004.1 Accordingly, Perma-Chink has been severely prejudiced in its efforts to defend against

   Nisus’ charges of infringement in both the Nisus I suit and here.

            By this motion, Perma-Chink moves this Court to:

                 •   Compel Nisus to provide information requested by Perma-Chink relevant to these
                     newly produced documents;
                 •   Sanction Nisus for its belated production by paying Perma-Chink’s costs and
                     expenses in re-deposing the three inventors and taking other discovery relating to
                     the new documents; and
                 •   Sanction Nisus by dismissing its pending motion for summary judgment as to
                     assignor estoppel.

   Perma-Chink reserves the right to make other motions for other sanctions, including possibly

   vacatur of this Court’s Orders in Nisus I, as discovery reveals further relevant facts.
                                               II.       BACKGROUND

            On August 2, 2004, Nisus produced 284 new documents which it claims to have only

   recently found. Those documents bear directly on legal and factual issues central to both cases. 2

   Immediately after Nisus’s production of these documents, Perma-Chink sent Nisus a letter

   requesting a supplementation to discovery detailing when, where, how, and by whom the

   1
     On August 19, 2004, Perma-Chink filed a supplemental brief in opposition to Nisus’ motion for summary
     judgment on the issue of assignor estoppel to call the Court’s attention to Nisus’ belated production of relevant
     evidence. Ct. Dkt. #155.
   2
     It is Perma -Chink’s position that assignor estoppel does not apply in Nisus II and is thus not central to this lawsuit.
     However, because of Nisus’ repeated invocation of that doctrine in opposition to Perma-Chink’s discovery
     requests as well as Perma -Chink’s efforts to amend its answer and counterclaims, Nisus has effectively made the
     assignor estoppel doctrine a major issue in this lawsuit.


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   documents were discovered. 07/30/04 letter from W. Toone, Attachment A hereto. Perma-Chink

   also requested that Nisus provide Perma-Chink an immediate opportunity to allow inspection of

   the original notebook from which the pages were copied. Id. Perma-Chink again raised this

   issue in its August 3, 2004 Discovery Conference Agenda. Nisus has completely ignored Perma-

   Chink’s requests and has provided no response whatever to the letter or the August 3rd Discovery

   Conference, necessitating the filing of this motion.

                                        III.     ARGUMENT

          A.      The Belatedly Produced Documents Are Highly Relevant To The Issue Of
                  Assignor Estoppel

          The topic of “assignor estoppel” has been invoked by Nisus in almost every briefing,

   hearing, and conference before this Court. That issue forms the linchpin of Nisus’ contentions

   that it can preclude Perma-Chink from taking discovery and from asserting affirmative defenses

   and/or counterclaims in this case. It is now clear that Nisus’ strategy to avoid responsibility for

   the invalidity and unenforceability of the Nisus patents extends to stacking the deck in its favor

   by withholding relevant documents. Given this recent and belated production, Perma-Chink has

   no confidence that Nisus has been forthcoming with all documents relevant to this issue; nor

   should this Court.

          The documents produced by Nisus appear to constitute minutes of meetings between the

   three original named inventors dating from January 1989. These documents evidence events

   occurring more than nine months prior to September 13, 1990, and support arguments made by

   Perma-Chink in Nisus I that Mr. Dunstan had no actual knowledge of the conduct which Nisus

   relied on to support its assignor estoppel theory. The orders from Nisus I applying “assignor

   estoppel” form the basis of the Nisus’ motions in the present case for summary judgment,

   opposition to Perma-Chink’s motion to amend to include counterclaims, and Nisus’ unilateral


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   refusal to provide discovery. This new evidence, belatedly produced by Nisus, demonstrates that

   the orders upon which Nisus relies so heavily were entered with neither Perma-Chink, nor the

   Court, fully informed of the underlying facts.

           The relationship between the three named inventors (who eventually formed Nisus) and

   Rich Dunstan during the time all four individuals were employees at Perma-Chink between 1988

   and 1990 has been a core subject in numerous motions before this Court, particularly in the

   Nisus I lawsuit. Those issues have included, and continue to include, whether the three named

   inventors developed the Bora-Care product embodying the claims in the ‘838 patent application

   in a semi-secret environment. That factual issue in particular was critical to Nisus’ successful

   assertion of assignor estoppel to oppose Perma-Chink’s motion for summary judgment of patent

   invalidity in Nisus I.

           In response to Nisus’ motion for application of the doctrine of assignor estoppel in Nisus

   I, Defendant had asserted that a “skunk-works” environment existed at Perma-Chink’s offices in

   Knoxville prior to the formation of Nisus, in which some employees, the eventual founders of

   Nisus, kept secret certain projects and research in anticipation of breaking off from Perma-Chink

   to form a competing entity—as eventually occurred. Perma-Chink argued that it should not be

   held to have had actual or constructive knowledge of that conduct. Thus, Perma-Chink’s patent

   invalidity and unenforceability defenses should not have been precluded.

           The Court in Nisus I eventually found, in part, that Mr. Dunstan had actual or

   constructive knowledge of the secret activity prior to September 13, 1990, the date the assets

   were sold to one of the founders of Nisus and Mr. Dunstan’s former partner in Perma-Chink, Mr.

   Bud Deitrich. Nisus obtained that ruling by asserting that no evidence existed of the “skunk-

   works.” But apparently, Nisus had not produced all the evidence in its possession.



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          All Bora-Care documents and assets were in Nisus’ possession shortly after the

   September 13, 1990 transaction. Accordingly, at the time these issues were presented to the

   Court in Nisus I, Perma-Chink had no knowledge or access to these new, recently-produced

   documents. Thus, Perma-Chink had no opportunity to take discovery on the basis of those

   documents. Even though Nisus had exclusive control of these documents, they were not

   produced despite (or even because) they may have supported Perma-Chink’s contentions that

   Mr. Dunstan was excluded from the meetings resulting in the ‘838 application—a theory rejected

   by the Court in Nisus I.

          It appears Nisus believes that it may selectively produce documents when circumstances

   appear to favor Nisus, but withhold when it is considered unfavorable. It is fair to inquire why

   documents evidencing inventor meetings were produced only at the time when inventorship of

   the ‘095 propylene glycol formulation has been brought into serious question by Perma-Chink.

   It is assumed Nisus now believes that production will helps its efforts to rebut some of Perma-

   Chink’s substantive defenses.

          In Nisus I, the issues regarding enablement and best mode now facing Nisus were not

   present and these documents would not have benefited Nisus.          But evidence of meetings

   excluding Dunstan were highly relevant and may well have been significantly adverse to Nisus’

   position that Dunstan was a full participant in the Bora-Care development. Accordingly, it

   would have harmed, not helped, Nisus to produce these documents in Nisus I. Now, in Nisus II

   when Perma-Chink has gathered evidence showing that no lab documents support Nisus’

   invention of the formulation claimed in the ‘095 patent prior to 2001, these documents appear as

   if by magic and right on cue.




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          Nisus will likely argue that Perma-Chink’s contentions are frivolous, because if the

   documents are harmful to Nisus, why would they be produced now? The answer lies in the

   presentation of this motion itself, the first step in the uphill battle Perma-Chink now faces. By

   preventing full disclosure of the facts, Nisus was able to secure the orders entered by the Court in

   Nisus I. Subsequently, Nisus has used the weight of those orders in response to every effort

   Perma-Chink has made to mount a defense to infringement. Perma-Chink is faced with the task

   of convincing this Court, to the extent not readily apparent, that Nisus’ discovery abuse is

   systematic—discovery is given only when, on balance, it can advance Nisus’ interests.

          Most disturbing is that throughout the years of protracted litigation between the parties,

   much of it centered on the very issue of assignor estoppel, no one at Nisus informed Perma-

   Chink of the existence of the now-produced documents, which appear to take the form of a

   spiral-bound notebook. “[T]he federal discovery rules place a duty on a party to turn over not

   only proper materials of which he is aware, but also those of which he reasonably ought to have

   been aware.” Arthur v. Atkinson Freight Lines Corp., 164 F.R.D. 19, 20 (S.D.N.Y. 1995)

   (emphasis in original). Given the burdens imposed by the Federal Rules, Nisus’ failure to

   previously produce these documents cannot be excused.

          B.      Perma-Chink Has Been Prejudiced By Nisus’ Belated Production

          There can be no dispute that Perma-Chink has suffered great prejudice by reason of

   Nisus’s belated production of these documents. First, and most importantly, Perma-Chink has

   not yet had the opportunity to pursue discovery based on those documents. Second, in the

   interim between when Perma-Chink requested these documents and when they were produced,

   Perma-Chink has (1) had orders entered against it by this Court on the issue of assignor estoppel




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   in Nisus 1; (2) had to petition the Federal Circuit for review of those decisions 3 ; (3) had to

   oppose a summary judgment motion in this case predicated on those decisions; and (4) has been

   precluded from discovery by Nisus’ invocation of “assignor estoppel.”

              But even if Perma-Chink could not point to such specific substantive prejudice, it has

   been prejudiced nonetheless. In Martinelli v. Bridgeport Roman Catholic Diocesan Corp., 179

   F.R.E. 77, 81 (D. Conn. 1998), the defendant argued that it should not be sanctioned for belated

   document production because the information would have come to light eventually. The court

   rejected that argument:

              The defendant misses the point. The timing of discovery is as important as its
              content. The plaintiff in this case had a right to the information in question when
              he requested it. He was denied that right and disadvantaged by the denial.


   Id. (citation omitted; emphasis added); see also Rabello v. Bell Helicopter Textron, Inc., 200

   F.R.D. 484 (S.D. Fla. 2001) (granting motion for sanctions where defendant failed to produce

   responsive report, contending that it had been “inadvertently overlooked”;                                 the court

   characterized the oversight as “neither inadvertent nor innocent” and found that plaintiffs had

   been “unfairly disadvantaged”).

              In opposition to this motion, Nisus may choose to argue that the documents it has

   belatedly produced are not helpful or relevant to Perma-Chink’s case. But that argument is

   likewise meritless. As the Martinelli court stated:
              With regard to the [defendant’s] argument concerning the ultimate relevance of
              the information [the plaintiff] sought out, the court is satisfied that the evidence
              was properly discoverable, and reminds the defendant that a valid discovery
              request need only “encompass any matter that bears on, or that reasonably could
              lead to other matter that could bear on, any issue that is or may be in the case.”
   Id. (citing Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)); see also Arthur, 164

   F.R.D. at 21 (“The disclosure provisions in the Federal Rules of Civil Procedure do not permit a


   3
       As set forth in Perma -Chink’s supplemental brief in opposition to Nisus’ motion for summary judgment on the
       issue of assignor estoppel filed August 19, 2004, the Federal Circuit has granted that petition. Ct. Dkt. #155.


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   party to trim his duty of disclosure to suit his own view of what might be relevant to his

   adversary.”; granting motion for sanctions). While the true impact of the new documents cannot

   be fully determined until Perma-Chink has had an opportunity to develop discovery based

   thereon, their very existence calls into questions all of the assignor estoppel arguments made by

   Nisus over the years.
          C.      Nisus Has Previously Been Sanctioned By This Court For Intentionally
                  Depriving Perma-Chink Of Pertinent Discovery

          This is not the first time that Nisus has intentionally deprived Perma-Chink of crucial

   documents. In the Nisus I lawsuit, Nisus engaged in similar patterns of discovery abuse that it

   has exhibited here in Nisus II. As in this case, Nisus sought to control the information with

   which Perma-Chink could develop its defenses and counterclaims. One particular instance

   resulted in this Court (Magistrate Judge Murrian) finding that Nisus “had acted in a way that had

   needlessly increased the cost of litigation and engaged in conduct that had approached

   harassment of the defendant.”      Attachment B hereto, Memorandum and Order, pp. 1-2.

   Magistrate Judge Murrian found that:

          Nisus made a calculated, tactical decision to deprive Perma-Chink of the effective
          use of the documents at the July 12-16 depositions. This court does not have to
          countenance such unseemly behavior of the attorneys who practice before it.

   Attachment B, p. 3.
          Perma-Chink submits that Nisus has again made a “calculated, tactical decision” in

   depriving Perma-Chink of the new documents at the point they were needed by Perma-Chink.

   That deliberate act by Nisus supports the entirety of the sanctions Perma-Chink seeks herein.

   But even if the Court were to give Nisus the benefit of the doubt, “mere negligence supports the

   imposition of sanctions.” Martinelli, 179 F.R.E. at 81.




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        D.       Nisus Should Be Sanctioned

        In Variable-Parameter Fixture Development Corp. v. Morpheus Lights, Inc., 945 F.

 Supp. 603, 605 (S.D.N.Y. 1996), a patent infringement suit, the plaintiff moved for sanctions

 against defendant on the basis of what the court termed “a deliberate and protracted failure by

 [defendant] to comply with [plaintiff’s discovery] demands.” One of the facts the court relied on

 in granting the plaintiff’s motion was that the defendant had “belatedly produced documents in

 the fall of 1995 that were responsive to several document requests dating back to 1990.” Id.

 (ordering payment of costs and attorney’s fees incurred in filing motion and review of belated

 document production and other sanctions). That same rationale applies here.

        Any effort by Nisus to point to its belated production as “solving the problem” do not

 allow it to escape the imposition of sanctions. As the court in Martinelli explained:

        The defendant cannot now point to the documents’ eventual, tardy discovery as
        somehow comporting with the letter or spirit of the Federal Rules of Civil
        Procedure, or as a reason for relieving it from the financial consequences of its
        failure to comply with this court’s order.

 179 F.R.D. at 82.

        Appropriate sanctions should be imposed against the Plaintiff for its failure to produce

 these highly material documents previously. Those sanctions should include:

             •   Nisus’ pending motion to apply the Nisus I assignor estoppel rulings against
                 Perma-Chink in the present case should be dismissed.

             •   Perma-Chink should be permitted a full opportunity to conduct discovery on the
                 origins and sudden discovery of these documents, and the cost of that discovery
                 should be assessed against Nisus.

             •   All of Nisus’ assignor estoppel-based responses and objections to Perma-Chink’s
                 affirmative defenses and counterclaims should be stayed until this Court in the
                 Nisus I lawsuit has had a full opportunity to consider Perma-Chink’s motion to
                 reopen and/or dismiss Nisus’ assignor estoppel motion for summary judgment
                 based on the recent production of these new 1989 era documents.



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                                     IV.      CONCLUSION

        As set out in greater detail in Perma-Chink’s supplemental brief in support of its

 opposition to Nisus’ motion for summary judgment of assignor estoppel (Ct. Dkt. #155), Nisus

 has sought, and continues to seek, to control the flow of information in this case in an egregious

 and self-serving manner.      When information can hurt it, Nisus denies Perma-Chink that

 discovery. When information can help it, Nisus selectively produces that information and then

 tries to control how and when Perma-Chink utilizes it. For example, precisely at the time that

 Nisus started to believe that Bora-Care development documents might be advantageous to its

 rebuttal of Perma-Chink’s affirmative defenses, Nisus claims to have just “recently discovered”

 these new documents. This recent discovery leads Perma-Chink to wonder how many other

 relevant docume nts remain undiscovered and unproduced.

        Perma-Chink accordingly moves for the above requested relief as well as an award of its

 attorney’s fees and costs associated with this motion and the preceding discovery conference in

 an amount of not less than $5,000.00. Perma-Chink also expressly reserves its right to move for

 additional sanctions in the future as facts are developed to support its contentions.




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 DATED this 20th day of August 2004.

                                        Respectfully submitted,




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                                     CERTIFICATE OF SERVICE
           The undersigned hereby certifies that on the 20th day of August, 2004 a copy of the
 foregoing PERMA-CHINK'S MOTION                   FOR SANCTIONS REGARDING LATE
 PRODUCTION OF 1989 DOCUMENTS was filed electronically. Notice of this filing will be
 sent by operation of the Court’s electronic filing system to all parties through their respective
 counsel of record as indicated on the electronic filing receipt. All other parties, if any, will be
 served by regular U.S. Mail. Counsel may access this filing through the Court’s electronic filing
 system.
           DATED this 20th day of August, 2004.

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